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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IN RE:
DONALD W. WYATT DETENTION FACILITY 20-mc-00004
STATUS REPORT (March 25, 2021)
Detainees at the Facility TOTAL: 569
(% capacity) 74%
USMS 519
ICE 35
Navy, Tribal, BOP 15
Cumulative number of detainees TOTAL: 8387
tested/vaccinated
Negative tests 7955
Pending tests 0
Positive cases 432
Cleared/Discharged 432
Active cases 0
(ICE) 0)
(non-ICE) 0
Detainee vaccinations (1st dose) 104
Detainee vaccinations (2.4 dose) 37
Cumulative number of staff tested (as self- TOTAL: 4692
reported by staff and through Facility-sponsored
testing of staff) and vaccinated
Negative tests 4488
Pending tests 65
Positive cases 139
Cleared 139
Active cases 0
Staff vaccinations (1st dose) 137
Staff vaccinations (24 dose) 106
All efforts undertaken to mitigate the spread of See Attachment A
COVID-19
All efforts undertaken to mitigate the spread of See Attachments A&C
COVID-19 in light of a positive test
Protocols for scteening and testing of detainees, See Attachments A&B
staff, and others entering or leaving the Facility
Changes from Attachment A on prior Status See Attachment €

Report, if any

 

 

 

 
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ATTACHMENT A
(Facility’s Mitigation Efforts and Plan)
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EFFORTS BY THE DONALD W. WYATT DETENTION FACILITY TO
MITIGATE AND ADDRESS THE EFFECTS OF THE
CORONAVIRUS PANDEMIC

Introduction

1. With the onset of the current pandemic, the Facility and its staff have been working
around-the-clock to ensure that any threats posed by the coronavirus/COVID-19 pandemic are
mitigated to the maximum extent possible.

2. The Facility relies on and routinely refers to the guidelines issued by the Centers
for Disease Control and Prevention (CDC) for correctional and detention facilities.

3. The Facility communicates routinely with representatives from the Rhode Island
Department of Health (RIDOH) regarding testing and mitigation strategies.

4. Beginning on May 13, 2020, the Facility began coordinating and consulting with
Rhode Island’s Congregate Settings Support Team (CSST), which is a National Guard based team
of professionals with medical and infectious disease experience. Specifically, the Facility worked
with the CSST on issues such as swabbing/ testing, infectious disease mitigation and control best
practices, and staffing needs.

The Facility’s Medical Staff

5. The Facility’s Medical Director is Edward Blanchette, M.D. Dr. Blanchette is
Board Certified in Infectious Diseases and has over 40 years of medical experience, especially in
the correctional setting. He has been Medical Director at the Facility since 2010. Prior to this,

he was the Director of Health Services for the Connecticut Department of Corrections for over

20 years. That system had approximately 18,000 inmates throughout Dr. Blanchette’s tenure

there.
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6. The Facility’s Health Services Administrator and Certified Correctional Health
Professional (CCHP) is Ronald LaBonte. He has over 25 years of service experience in health
care within the correctional environment.

7. The Facility’s Advanced Practice Registered Nurse is Holly Fernandes. Ms.
Fernandes has been at the Facility for approximately 15 years.

8. Finally, the Facility has at least two registered nurses on site during first and second
shifts, and at least one registered nurse on site during third shift.

Specific Steps

9. The Facility has implemented strict protocols and undertaken extensive steps to
minimize the threat of the coronavirus within the Facility, including, but not limited to:

a. Encouraging detainees to socially distance themselves by, among other things,
sitting one to two detainees at a four-person table during any non-lockdown
mealtimes, providing guidance to avoid congregating in groups, permitting
detainees to access the recreation yard attached to their unit on non-lockdown
times, and reassigning detainees to available cells when feasible so as to further
increase social distancing within the cells;

b. Communicating with the United States Marshals Service, ICE, and Bureau of
Prisons to minimize sending potential detainees who exhibit COVID-19
symptoms;

c. Increasing mental health rounds throughout the Facility during the early phase of
the pandemic;

d. Ensuring 24/7 on-site presence of nursing staff;
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e. Ensuring that transportation staff communicates in real time with the Facility
regarding the detainees’ conditions who are arriving at the Facility and to isolate
any incoming symptomatic detainees as much as possible;

f. Testing detainees for SARS-CoV-2 and medically screening new detainees for
COVID-19 symptoms;

g. Establishing a quarantine plan (described below) under the supervision and
guidance of the Facility’s medical director and in consultation with RIDOH and
the CSST;

h. Prohibiting staff from working who are experiencing any COVID-19 related
symptoms, and to report any such symptoms immediately before self-isolating
themselves and seeking medical attention;

i, Requiring staff who have COVID-19 related symptoms to self-quarantine for 14
days and obtain clearance from their medical provider before returning to the
Facility;

j. Encouraging staff to follow the Governor’s executive orders by minimizing their
time outside of their homes so as to reduce their tisks of exposure to the
coronavirus;

k. Encouraging staff to cease unnecessary physical contact such as handshakes, hugs,
etc.;

l. Implementing an enhanced cleaning protocol throughout the Facility;

m. Providing additional soap, cleaning materials, and sanitizers throughout the Facility

for use by detainees and staff;
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n. Cleaning frequently throughout the day and disinfecting tables, chairs, handrails,
phone handsets, and other high-touch areas;

o. Creating an additional night-time cleaning detail to clean and disinfect showers and
other common areas with a bleach and water solution;

p. Initially and temporarily suspending physical visitation to the Facility by family
members, attorneys, and other visitors to protect the detainees and their family
members during this phase of the pandemic. In mid-June, the Facility reinstated
limited non-contact (Le., through glass) visitation between detainees and their
visitors. This process has been formulated in consultation with RIDOH and
includes, among other things, verbally screening and temperature testing visitors,
obtaining contact information for any contact tracing purposes (if necessary),
avoiding any commingling of units, requiring social distancing in any waiting areas,
requiring masks to be worn, and sanitizing contact areas in between visits. In
response to the Facility’s increase in positive cases in October, 2020, the Facility
has suspended visitation until further notice;

q. Screening and limiting vendors and contractors to only those personnel and visits
necessary to ensure continuity of operations, such as HVAC vendors and essential
deliveries (i.e., medical, food, cleaning supplies, commissary, etc.). The Facility also
requires its regular outside contractors to be tested at the same time the Facility
conducts staff testing;

r. Screening vendors and contractors who must enter the Facility for COVID-19

related symptoms and denying entry to any individuals who exhibit such
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symptoms. This screening consists of a temperature check and answering screening
questions regarding potential exposure and risks to the Facility;

s. Increasing the use of audio and video conferencing services for court appearances
and other visits traditionally held in-person, such as between detainees and their
attorneys. In September, 2020, the Facility installed approximately 16+ portable
touch-screen devices with handsets. These devices will help to facilitate legal/video
calls between detainees and their attorneys. They will also allow multiple other
users participate via video (such as court staff/personnel) in real-time, much like a
Zoom video call. Detainees will also be able to use these devices to review and sign
legal documents electronically. This will significantly increase the speed and ease
with which detainees can communicate and exchange information and signed
documents with their attorneys;

t. Increasing the number of free phone calls that detainees may make each week as
well as reducing the rate that detainees pay for calls;

u. Restricting and minimizing staff members’ physical contact with each other and
interactions to the maximum extent possible;

v. Providing bilingual instruction and guidance to detainees and staff regarding the
critical needs to observe strict personal hygiene such as frequent hand-washing,
avoiding touching facial areas, maintaining social distancing as much as possible,
and promptly reporting any symptoms consistent with COVID-19;

w. Suspending Facility programs until further notice and working to replace those

ptograms with alternative activities;
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x. Holding town hall-style meetings led by the Warden and the Facility’s medical
director with the detainees to explain the Facility’s efforts, plans, and to assure
them that the Facility is working diligently to reduce COVID-19 related risks. At
these meetings, detainees requested more soap and personal hygiene products
(which were provided), a reduced rate for paid phone calls (which was provided
for domestic calls), and more access to Personal Protection Equipment (PPE) such
as gloves and procedural masks (which the Facility has provided);

y. Creating negative-pressure isolation and quarantine units;

z. Obtaining SARS-CoV-2 testing kits from RIDOH on an as-needed basis;
and

aa. Replacing the currently-suspended in-person religious services with weekly rounds
by the Facility’s religious coordinator.

Quarantine and Testing Procedures
10. With the input of RIDOH, as of August 19, 2020, the Facility’s intake and
quarantine procedures are as follows:

a. The Facility uses J-2 Pod (“J-2”) and, if necessary, F-Pod, as the primary intake
pods for all new detainees from the United States Marshals Service, Immigration
and Customs Enforcement (ICE), the Federal Bureau of Prisons, and the United
States Navy. On August 19, 2020, the Facility relocated its ICE detainees to J-1
Pod, which is a negative pressure unit. The Facility made this change to allow it
more flexibility in handling the intake quarantine process for new detainees because

J-2 is a larger unit;
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b. J-2 is a large (96 bed) negative pressute unit. It is the Facility’s primary quarantine
pod and can house up to 96 detainees. The Facility may also use F-Pod (16 beds)
as a supplemental location for new detainees if J-2 is full or the Facility needs to
use F-Pod to maintain its cohorting arrangements within J-2;

c. The Facility uses J-2 and F-Pod as initial intake holding pods to assess and clear
detainees before releasing them into the general population;

d. If necessary, the Facility may also temporarily use one of its multipurpose spaces
(before COVID-19, used as a chapel and meeting space) to house new detainees,
due to the need to maintain existing cohorts in J-2 and F-Pod, for example (i.e., to
avoid introducing new detainees into areas where the Facility previously identified
positive detainees). This multipurpose area is equipped with portable cots/linens,
detainee showers, restrooms, activity space, televisions, communications tablets,
and telephones;

e. Although the Facility currently has two medical isolation units which are negatively
ptessured, the Facility has turned the entire J-1 pod (48 beds) into a negative
pressure isolation unit. And, as of May 8, 2020, the entire I-Pod (female detainees,
40 beds), and the entire K-Pod (special purpose/protective custody, 70 beds) are
negatively-pressured. As of May 22, 2020, the entire J-2 pod (96 beds) is negatively
pressured. As of June 23, 2020, the entire H-Pod (96 beds) is negatively pressured.
Accordingly, as of that date, the Facility has 353 total beds which are negatively

pressured;
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f. The Facility screens new detainees by asking them questions regarding their travel
history, contact with potential COVID-19 positive individuals, and other risk and
exposute factors;

g. All detainees arriving to the Facility are to be held in quarantine status, medically
screened, and tested for SARS-CoV-2 no more than three days after arrival;

h. New detainees are monitored and mental health unit staff check in with detainees
in the Facility’s intake and quarantine units at least twice per week;

i. During this period, detainees are instructed to self-report any symptoms;

j. Ifthe detainee’s initial test is negative, the detainee remains in quarantine until the
detainee is re-tested toward the end of the initial two-week intake period (ie., 14
days);

k. If, after this two-test process the detainee is negative in both tests, then the detainee
will be cleared for release into the general population, provided that the detainee
reports no symptoms;

l. Ifa new detainee receives a positive test during this initial quarantine period, the
detainee will be placed in an appropriate cohort unit or into one of the Facility’s
negative pressure units, if available, and closely monitored for symptoms; and

m. As of the week of October 19, 2020, and per the advice of RIDOH and the CSST,
the Facility clears previously-positive detainees using the protocol set forth at the
end of Paragraph 12;

n. Ifanew detainee refuses testing, the detainee will be quarantined a minimum of 16
days, screened for symptoms, and cleared for entry into the general population, if

appropriate.

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Protocols in the event of a confirmed COVID-19 case

11. The Facility frequently reports via email to the governmental entities who entrust
their detainees to the Facility’s care the status of COVID-19 within its population.

12. Ifa detainee tests positive for COVID-19, the Facility has a plan in place to address
that situation using all precautions necessary throughout this process. The Facility will, to the
extent necessary ot advisable under the circumstances:!

a. Isolate the detainee in the medical isolation unit (if available) or negative pressure
unit (if available),2 ensure that the detainee has a mask to wear, and further
medically evaluate the detainee;

b. Interview the detainee to determine the nature and extent of their symptoms, the
date of their onset, who they recently came into close contact with (i.e., contact
tracing, as defined by RIDOH and the CDC), what areas they may have touched,
and other specific facts to assess the detainee’s condition and their potential impact
on staff and other detainees within the Facility;

c. Clean and sanitize any areas identified as part of this interview that need to be

addressed;

 

1 It is difficult to lay out every single step the Facility will take if it has a positive case because
of the number of action items that will be required, the exigencies of the situation, and the need to be
flexible and adapt to every situation’s unique needs. But, nonetheless, this document provides the
framework and parameters that will guide the Facility’s action.

° A negative pressure environment reduces air pressure so that outside air can be brought into
the segregated environment. The goal of this environment is to trap and keep potentially harmful
particles within the negative pressure room by preventing internal air from leaving that space.

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d. Interview other detainees who were identified during the contact tracing process
and identify and establish any necessary cohorts as a result of the contact tracing
process;

e. Secure and isolate the detainee’s unit and limit access by staff to those staff
necessary and with appropriate protections (masks, gloves, etc.), inform other
detainees in the affected unit of the positive case, remind them to wear masks when
outside their cells, remind them to report any symptoms immediately, remind them
of the importance of personal hygiene and social distancing, and medically screen
them as needed;

f, Order a SARS-CoV-2 test for any detainee who presents with symptoms
necessitating such a test and any detainee whom RIDOH believes based upon
contact tracing and exposure should be tested; and

g. Advise all necessary parties and agencies, including, but not limited to, RIDOH,
the Facility’s staff, and its user agencies.

The Facility has several contingency plans in place if it experiences multiple COVID-19
cases. For example, the Facility can handle up to two cases within its Health Services Unit. But, if
the number of cases increases, the Facility may use J-2 (96 beds) if appropriate, and, if necessary,
F-pod, which has 16 cells. Alternatively, in consultation with RIDOH, the Facility may create and
maintain appropriate cohorts in particular locations (including maintaining detainees in their
current housing arrangements, if appropriate) in an effort to limit any spread of the disease. For
example, as of the date of the June 15, 2020 Status Report, and except for any positive detainees
who may be in the Facility’s Health Services Unit, the Facility assigned positive detainees together

as a cohort in B-Pod. The Facility would then assess the situation to determine the most

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appropriate cohorting and living arrangements depending on the specifics of each detainee’s
situation (1.e., comorbidities, age, risk factors, etc.)

Protocols for clearing positive cases out of quarantine. After consultation with
RIDOH and the CSST, the Facility may clear a previously positive case out of quarantine when
the detainee has had no fever for at least 24 hours without the use of fever-reducing medications
and ten ot more days have passed since the detainee’s positive SARS-CoV-2 test (20 days if
immunocompromised).

General Facility cleaning, sanitizing, and prevention measures

13. The Facility has placed COVID-19 related signage from the CDC regarding
symptoms, hygiene, and best practices throughout the Facility in English and Spanish. When the
Facility holds its town-hall style meetings (including the one it recently held regarding COVID-
19), translators are available to assist with any detainee needing translation to ensure the messages

are received and understood by all detainees.

14. Every cell has its own sink and soap is provided to the detainees.
15. Hand sanitizing is available to the detainees when detainees are out of their cells.
16. Cleaning chemicals in spray bottles and paper towels are available on the units

throughout the day and are consistently monitored and refilled by staff when needed. When
detainee workers are out of their cells and working in the pods, they are consistently spraying,
wiping, and cleaning high-touch areas such as handles, railings, chairs, tables, screens, microwaves,
etc. In addition, the third-shift cleaning crew (while other detainees are in their cells) performs a
thorough bleach-based cleaning of each unit which takes an average of several hours each night.
17. Procedural face masks were initially distributed to staff and detainees. The Facility

obtained 2,000 additional masks and is continually in the process of obtaining more masks to have

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on hand. On May 21, 2020, the Facility distributed KN95 masks, gloves, soap, and vitamins to its
detainees. The Facility also distributes procedural masks and soap to detainees on a regular basis.
Detainees are free to obtain additional gloves, masks, and soap upon request.

18. Although the Facility cannot control the ingress and egress of detainees because
such decisions ate made by its user agencies, the Facility also communicates regularly with user
agencies who are sending new detainees for intake to ensure as much as possible that no COVID-
19 suspected or positive detainees ate introduced into the Facility.

Vaccine Distribution

19. The Facility will follow RIDOH’s recommendations regarding the timing and
allocations of vaccination efforts. As of the January 14, 2021 Status Report, Facility staff have
begun the vaccination process. As of the week of February 8, 2021, the Facility began vaccinating
its detainees.

20. As part of its efforts to encourage as many detainees as possible to accept the
vaccine (starting with the detainees that the Facility’s Medical Director has identified as having an
increased risk for COVID-19 complications), the Facility has distributed bilingual fact sheets and
other information from the CDC and Food and Drug Administration (FDA) regarding the
vaccine, its efficacy, and its safety. The Facility also intends to provide further education and
information sessions to its detainee population. Detainees are asked to complete a form provided
by the Facility as to whether they would like to receive the vaccine, decline the vaccine, or be

contacted later for their preference.

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ATTACHMENT B
(Screening Protocols)
DETAINEES
Place Label Here
Detainee
Name (Print) ID#
Housing Cell # DOB
Unit
DETAINEE QUESTIONNAIRE COMMENTS

1. | Fever or Chills: Onsetdate( / / ) Measured, Highest

Yes | No

temp: Current Temp:

2. | Cough Onset date ( / / ) Yes | No
3. | Shortness of breath/dyspnea Onsetdate( / / _ ) | Yes | No
4. | Fatigue Onsetdate( / / _ ) | Yes | No
5. | Sore throat Onsetdate( / / _ )| Yes | No
6 Headache Onset date ( / |{ ) | ¥es | No
7. | New loss of taste or smell Onsetdate( / /  )

Yes | No
8. | Muscle/Body aches Onsetdate( / / __ ) | Yes | No
9. | Nausea/vomiting Onsetdate( / / )| Yes | No
10. | Diarrhea Onsetdate( / / _ ) | Yes | No
11. | Runny nose/rhinorrhea Onsetdate( / / ) | Yes | No

HISTORY

A Yes | No

Have you been in close contact with a person that
has laboratory confirmed Novel Coronavirus
Disease-2019 (COVID-19) in the past 14 days?

Date of last exposure: ( / 7 )

 

Have you traveled out of New England/New
York/New Jersey in the past 14 days?
Where?

Date: ( / fy

 

Yes

 

 

 

DISPOSITION

 

 

 

 

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Clinical impression ILI or yes to questions: Call Yes | No
HAS/Designee Immediately
Patient remained in unit? Yes | No

 

 

 

 

 

DRAFT VERSION 16 July 2020

Staff Name (Print)
Signature

 

 

Date: Time:

 

HSA/Designee Review Signature

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STAFF AND VISITORS

CENTRAL FALLS

DETENTION FACILITY CORPORATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STAFF AND VISITOR
COVID-19 SCREENING TOOL
Name (Print) DOB
QUESTIONNAIRE COMMENTS
1. | Fever or Chills: Onset date ( / /  )Measured, Highest
Yes | No

temp: Current Temp:
2. | Cough Onsetdate( / /  ) Yes | No

Shortness of breath/dyspnea Onsetdate( / / _ ) | Yes | No
4. | Fatigue Onsetdate( / / _ ) | Yes | No
5. | Sore throat Onsetdate( / / )| Yes | No
6 | Headache Onset date( / / ) | Yes | No
7. | New loss of taste or smell Onsetdate( / / ) ves | No
8. | Muscle/Body aches Onset date( / /  ) | Yes | No
9. | Nausea/vomiting Onset date( / / )| Yes | No
10. | Diarrhea Onset date( / /  )| Yes | No
11. | Runny nose/rhinorrhea Onsetdate( / / ) {| Yes | No

HISTORY

A | Have you been in close contact with a person that | Yes | No

has laboratory confirmed Novel Coronavirus

Disease-2019 (COVID-19) in the past 14 days?

Date of last exposure: ( / 7- )
B Have you traveled out of New England/New Yes | No

York/New Jersey in the past 14 days?

Where?

Date: ( / Tf )

DISPOSITION

A | Clinical impression ILI or yes to questions: Call Yes | No

Shift Commander Immediately

 

DRAFT VERSION 16 July 2020

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Staff Name (Print)
Signature

 

 

Date: Time:

Reference: https://www.cdc.gov/coronavirus/2019-ncov/symptoms-
testing/symptoms.html

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ATTACHMENT C
(Changes from last Status Report)

The following paragraph(s) identify and highlight any key changes made to Attachment A
from the last Status Report and provides additional current information.

Respectfully Submitted,
[sf Daniel W. Martin

Daniel W. Martin, Warden, Donald W. Wyatt
Detention Facility

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